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 3
 4                                  UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6
 7   KJELDEN CUNDIFF,                          )
                                               )
 8                                 Plaintiff,  )                   Case No. 2:09-cv-02241-PMP-PAL
                                                                            2:09-cv-02441-PMP-PAL
                                               )
 9   vs.                                       )                                  ORDER
                                               )
10   DOLLAR LOAN CENTER, LLC, et al.,          )                   (Emg. Mot Compel - Dkt. #81)
                                               )
11                                 Defendants. )
     __________________________________________)
12
13           The court conducted a hearing on Defendants’ Emergency Motion to Compel Proper Discovery
14   Responses (Dkt. #81) on October 19, 2010. James Kemp appeared on behalf of the Plaintiff. Deanna
15   Brinkerhoff appeared on behalf of the Defendants. The court set the matter for hearing on an expedited
16   basis because the parties requested a settlement conference which is scheduled for Friday, October 22,
17   2010. Mr. Kemp was out of the country when the motion was filed, and filed his opposition (Dkt. #87)
18   at 6:44 p.m. the night before the hearing. The court did not realize that an opposition had been filed,
19   and took the matter under submission after oral argument.
20           The court finds that a number of the interrogatory requests and requests for production of
21   documents involved in the current dispute are overly broad and/or ambiguous. Additionally, a large
22   number of the Defendants’ discovery requests would require Plaintiff and his counsel to engage in a
23   great deal of “busy work” to delineate information that is more appropriately addressed in the
24   deposition of the Plaintiff. At a deposition, the parties can clarify what information is actually being
25   sought, and counsel for Defendants will have an opportunity to conduct followup questioning in a
26   format more conducive to obtaining information about Plaintiff’s claims and the evidence and
27   documents he has to support those claims.
28   ///
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 1          Having reviewed and considered the moving and responsive papers and the arguments of
 2   counsel at the hearing,
 3          IT IS ORDERED that:
 4          1.      Defendants’ Emergency Motion to Compel (Dkt. #81) is GRANTED to the extent
 5                  Plaintiff shall supplement his discovery responses as follows:
 6                  a.         Plaintiff shall supplement his answers to interrogatories to provide an
 7                             explanation for how he arrived at the damages calculation articulated in his
 8                             discovery responses.
 9                  b.         Plaintiff shall also identify any health care provider who has diagnosed or treated
10                             him for the condition referred to in Answer to Interrogatory No. 19 served by
11                             Defendant DLC.
12                  c.         Plaintiff shall supplement discovery responses to produce any medical bills or
13                             invoices quantifying the amount of his health or medical costs which support his
14                             claim he is entitled to recover $8,670.00 for out-of-pocket health expenses, and
15                             $40,470.00 for contractual health insurance benefits.
16                  d.         The Plaintiff shall supplement his discovery responses to provide the additional
17                             documents or information Plaintiff has agreed to produce as described in his
18                             response to this motion.
19                  e.         Plaintiff shall supplement his answer to Brennan Interrogatory No. 11 to describe
20                             which documents in his initial disclosures, responses to requests for production,
21                             and any supplements or amendments support the claim referred to in
22                             Interrogatory No. 11.
23                  f.         Plaintiff shall supplement his answer to the Trust Interrogatory No. 4 by
24                             specifying which documents in his initial disclosures, responses to requests for
25                             production, and any supplements or amendments support the claim referred to in
26                             Interrogatory No. 4.
27          2.      The Plaintiff shall have until November 5, 2010 in which to supplement the discovery
28                  responses described in this order.

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 1     3.     The Motion is DENIED in all other respects.
 2     Dated this 21st day of October, 2010.
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 5                                               United
                                                    i d States Magistrate
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